               Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 1 of 35 Page ID #:1952
                                     LIST OF EXHIBITS AND WITNESSES
 Case Number            CR 22-00108-AB                         Title        United States of America v. Hyoung Nam So
     Judge              ANDRÉ BIROTTE JR., United States District Judge

 Dates of Trial
  or Hearing            11/7/23; 11/8/23; 11/9/23; 11/13/23; 11/14/23; 11/15/23; 11/16/23

 Court Reporters        Laura Elias
                                                                                                                              11/16/2023
  or Tape No.

 Deputy Clerks          Carla Badirian

                  Attorney(s) for Plaintiff(s) / Petitioner(s)                                   Attorney(s) for Defendant(s) / Respondent(s)

 AUSA, Jeff P Mitchell                                                              Ryan P Poscablo, Rtnd.
 AUSA, David Y Pi                                                                   Steven H Levin, Rtnd.
                                                                                    Joshua Dupre, Rtnd.
                                                                                    H. Dean Steward, Rtnd.
                                                                                    Courtney Cefali

     Plaintiff(s) or Petitioner(s)                 Defendant(s) or
                                                   Respondent(s)
                                                                                            EXHIBIT DESCRIPTION / WITNESS                       Called By
  Ex. No.         Id.        Ev.         Ex. No.         Id.           Ev

                                       4033           11/13/23                  Korean interview document
                                       4084          11/13/23                   HSI email
                                       4083           11/13/23                  HSI handwritten notes
                                                                                SEE ATTACHED LISTS




G-65 (03/07)                                                   LIST OF EXHIBITS AND WITNESSES                                           Page       of
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 2 of 35 Page ID #:1953



1
2
3
4
5
6
7
8
     UNITED STATES OF AMERICA,             Case No. CR 22-00108-AB
9
10                   Plaintiff,
     v.                                    GOVERNMENT’S WITNESS LIST
11
12   HYOUNG NAM SO,
13    aka “Brian So,”
14                   Defendant.
15
16            Witness’s Name                          Dates of Testimony
     Deborah Murphy                        11/8/23
17
18   Hwan Duk Lee                          11/9/23;11/13/23 (assisted by Korean
19                                         language interpreter, Nancy Hong)
20
     Priscilla Kim                         11/8/23; 11/9/23
21
22   Sun Lim                               11/8/23; 11/13/23
23   HSI SA Joshua Edwards                 11/13/23
24
     HSI SA Michael Fernandez              11/15/23
25
26   Peter Platt
27
28
                                          1.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 3 of 35 Page ID #:1954



1    Dong Woo Kim, f.k.a. Chul Kim         11/13/23 (stand by Korean language
2
                                           interpreter, Kathleen Jung)
3
4    Thang Quan                            11/14/23
5    Jeff Ferry
6
     Retired HSI SA Wendell Wright         11/14/23
7
8    John Choi                             11/14/23
9
     Don Vo                                11/14/23
10
     John Yeo                              11/15/23
11
12   HSI SA Alfredo Rossi                  11/14/23
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                          2.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 4 of 35 Page ID #:1955



1
2
3
4
5
6
7
8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             Case No. CR 22-00108-AB
11
                    Plaintiff,             GOVT’S AMENDED EXHIBIT LIST
12
13   v.

14   HYOUNG NAM SO,
15    aka “Brian So,”
16                  Defendant.
17
18    Exhibit                           Objection and   Date           Date
     Number          Description          Reasons     Identified     Admitted
19   1        Recorded video of
20            Consensually Monitored
              meeting on 01/21/2016 –
21            Part 1
22   2        Recorded video of
              Consensually Monitored
23            meeting on 01/21/2016 –
24            Part 2
     3        Recorded video of
25            Consensually Monitored
26            meeting on 01/21/2016 –
              Part 3
27   3T       Transcript of Part 3
28
                                          1.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 5 of 35 Page ID #:1956



1    3A        Clip of Recorded video                   11/13/23     11/13/23
2              of Consensually
               Monitored meeting on
3              01/21/2016 – Part 3
4
               [10:18-26:27]
5    3A-T      Transcript of Exhibit 3A                 11/8/23      11/13/23
6                                                       3T              (w/
               [10:18-26:27]                            11/13/23    redactions)
7
8    4         Recorded video of
               Consensually Monitored
9              meeting on 01/21/2016 –
10             Part 4
     4T        Transcript of Part 4
11
12   4A        Clip of Recorded video                   11/13/23     11/13/23
               of Consensually
13
               Monitored meeting on
14             01/21/2016 – Part 4
15
               [00:00-21:47]
16   4A-T      Transcript of Exhibit 4A                 11/13/23     11/13/23
                                                                        (w/
17
                                                                    redactions)
18   4B        Clip of Recorded video                   11/13/23     11/13/23
19             of Consensually
               Monitored meeting on
20             01/21/2016 – Part 4
21
               [26:42-27:02]
22   4B-T      Transcript of Exhibit 4B                 11/13/23     11/13/23
23
     5         Recorded video of
24             Consensually Monitored
25             meeting on 01/21/2016 –
               Part 5
26   5T        Transcript of Part 5
27
28
                                          2.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 6 of 35 Page ID #:1957



1    5A        Clip of Recorded video                   11/13/23     11/13/23
2              of Consensually
               Monitored meeting on
3              01/21/2016 – Part 5
4
               [03:56-4:54]
5    5A-T      Transcript of Exhibit 5A                 11/13/23     11/13/23
6
     5B        Clip of Recorded video                   11/13/23     11/13/23
7              of Consensually
8              Monitored meeting on
               01/21/2016 – Part 5
9
10             [10:21-10:29]
     5B-T      Transcript of Exhibit 5B                 11/13/23     11/13/23
11
12   5C        Clip of Recorded video                   11/13/23     11/13/23
               of Consensually
13
               Monitored meeting on
14             01/21/2016 – Part 5
15
               [20:15-21:28]
16   5C-T      Transcript of Exhibit 5C                 11/13/23     11/13/23
17
     6         Recorded video of
18             Consensually Monitored
19             meeting on 01/21/2016 –
               Part 6
20   6T        Transcript of Part 6
21
     6A        Recorded video of                        11/13/23     11/13/23
22             Consensually Monitored
23             meeting on 01/21/2016 –
               Part 6
24             [01:20-02:35]
25   6A-T      Transcript of Exhibit 6A                 11/13/23     11/13/23
                                                                        (w/
26                                                                  redactions)
27
28
                                          3.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 7 of 35 Page ID #:1958



1    7         Recorded video of
2              Consensually Monitored
               meeting on 01/21/2016 –
3              Part 7
4    8         Back-up audio recording
     8T        Transcript for back-up
5              recording
6    9         Photos of seized cash                    11/14/23     11/14/23
     10        Photos from Lee’s cell                   11/8/23      11/13/23
7              phone
8    10T       Translation of Photo of                  11/8/23
               text messages
9
     11        HSI Seizure receipt                      11/14/23     11/14/23
10   12        Audio recording of So
               interview
11
     12T       Transcript of So
12             interview
13   12A       Clip of Audio recording                  11/14/23     11/14/23
               of So interview
14             [0:00:41 to 0:02:18]
15   12A-T     Transcript of Exhibit
               12A
16   12B       Clip of Audio recording                  11/14/23     11/14/23
17             of So interview
               [0:06:51 to 0:09:50]
18   12B-T     Transcript of Exhibit
19             12B
     12C       Clip of Audio recording                  11/14/23     11/14/23
20             of So interview
21             [0:15:26 to 0:26:40]
     12C-T     Transcript of Exhibit
22             12C
23   12D       Clip of Audio recording
               of So interview
24             [0:28:55 to 0:37:09]
25   12D-T     Transcript of Exhibit
               12D
26
     12E       Clip of Audio recording                  11/14/23     11/14/23
27             of So interview
               [0:28:55 to 0:38:31]
28
                                          4.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 8 of 35 Page ID #:1959



1    12E-T     Transcript of Exhibit
2              12E
     12F       Clip of Audio recording                  11/14/23     11/14/23
3              of So interview
4              [0:39:28 to 0:43:29]
     12F-T     Transcript of Exhibit
5              12F
6    13        Documents received                       11/15/23     11/15/23
               from Los Altos Vault
7    14        Certification of Exhibit
8              13
     15        Items seized from Lee in                 11/13/23     11/13/23
9
               Detroit
10   16        Photos from Lee’s cell                   11/9/23     11/9/23
               phone                                    Pgs.:       Pgs.:
11
                                                        1           1
12                                                      3           3
                                                        4           4
13
     20        Verizon Statements                       11/15/23      11/15/23
14             x1126
15   21        Verizon business record
               certificate for Ex 20
16   22        Verizon Subscriber info                  11/15/23     11/15/23
17             for x2668
     23        Verizon Toll records for                 11/15/23     11/15/23
18             x2668
     24        Verizon Text message                     11/15/23     11/15/23
19             tolls for x2668
20   25        Verizon business record
               certificate for Exs 22-24
21   26        Verizon statements for                   11/15/23     11/15/23
22             So x1857
     27        Verizon business record
23             certificate for Ex 26
24   28        AT&T Subscriber info                     11/15/23     11/15/23
               for LY x9270 & x6557
25
     29        AT&T Records for
26             x9270
     30        AT&T business record
27
               cert. for Ex 28 & 29
28
                                           5.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 9 of 35 Page ID #:1960



1    31        Verizon Subscriber info                  11/15/23     11/15/23
2              for x0426
     32        Verizon business cert for
3              Ex 31
4    33        AT&T toll records for
               x0426
5    34        AT&T business record
6              cert for Ex 33
     35        AT&T Subscriber Info
7              x3666
8    36        AT&T Toll records for
               x3666 (Excerpts)
9
     37        AT&T business record
10             cert for Exs 35 & 36
     38        Verizon subscriber info
11
               for x9009
12   39        Verizon business record
13             cert for Ex 38
     50        American Airlines travel                 11/15/23     11/15/23
14             records for Kim, Choi
15             and Suh
     51        AA Business record cert
16             for Ex 50
17   52        Alamo Records (dba                       11/15/23     11/15/23
               Enterprise)
18   53        Alamo Business record
19             cert. for Ex 52
     54        Hertz Records                            11/15/23     11/15/23
20   55        Hertz business record
21             cert for Ex 54
     56        Delta Records for SO                     11/15/23     11/15/23
22
     56A       Delta Native Excel –                     11/15/23     11/15/23
23             Frequent Flyer
     57        Delta Records for Quan                   11/15/23     11/15/23
24
     58        Delta business record
25             cert for Exs 56 & 57
     59        Korean Airlines records                  11/15/23     11/15/23
26             for Lee
     60        Korean Air business
27             record cert for Ex 59
     61        Avis Records for Yoon                    11/15/23     11/15/23
28
                                           6.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 10 of 35 Page ID #:1961



1    62        Avis business record cert
               for Exhibit 61
2    65        GM Travel Receipts for                    11/15/23     11/15/23
               So
3    70        Michigan DMV
               Vehicles registered to
4              Hyung Nam So
     71        Public record
5              certification
     72        Michigan DMV record
6              for Hyoung Nam So
     73        Public record
7              certification
     74        CA DMV record for
8              Jawon Suh
     75        Public record
9              certification
     76        CA DMV record for
10             John Choi
11   77        Public record
               certification
12   78        CA DMV record for
               Chul Kim
13   79        Public record
               certification
14   80        CA DMV record for
               Kyung Min Kim
15   81        Public record
               certification
16   82        CA DMV record for
               Hyoung Nam So
17   83        Public record
               certification
18   84        Quan Email to Lee –                       11/14/23     11/14/23
               11/29/15
19   85        Bearbom7 Email to                         11/14/23     11/14/23
               Quan – 11/30/15
20             5:53PM
     86        Quan Email to                             11/14/23     11/14/23
21             Bearbom7 – 11/30/15
               6:34PM
22   87        Quan Email to Lee –                       11/14/23     11/14/23
               11/30/15 6:37PM
23   100       Google record for                         11/15/23     11/15/23
               bearbom7@gmail.com
24   101       Google record for                         11/15/23     11/15/23
               Thang.Quan@gmail.com
25   102       Google business record
               cert for Exs 100 & 101
26   103       Lee Email to Bearbom7                     11/8/23       11/9/23
               10/26/15 10:32
27   103A      Attachment:                               11/8/23       11/9/23
               1804_T1XX_wkmit_1st.
28             xls
                                           7.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 11 of 35 Page ID #:1962



1    103T      Translation                               11/8/23       11/9/23
2    104       Lee Email to bearbom7                     11/8/23       11/9/23
               10/26/15 10:33
3    104A      Attachment: GM                            11/8/23       11/9/23
               1927.pdf
4    104B      Attachment:                               11/8/23       11/9/23
               1804_T1XX_WKMIT
5              1st.xls
     104C      Attachment:                               11/8/23       11/9/23
6              1810_T1XX_DECO_
               (WKMIT) 1st.xls
7    104D      Attachment:                               11/8/23       11/9/23
               T1XX_CBDS
8              WKMIT.xlsm
     104E      Attachment:                               11/8/23       11/9/23
9              T1XX_1738i
               WKMIT.xlsm
10             Translation of Ex. 104
     104T                                                11/8/23       11/9/23
11   105       Lee Email to bearbom7                     11/8/23       11/9/23
               10/26/15 11:10
12   105T      Translation of Ex. 105                    11/8/23       11/9/23
     106       Lee Email to bearbom7                     11/8/23       11/9/23
13             11/6/15 12:09
     106A      Attachment: T1XX Deco                     11/8/23       11/9/23
14             Quotation Summary 1st
               vs 2nd (Change
15             design).xlsx
     106B      Attachment: T1XX Deco                     11/8/23       11/9/23
16             Quotation Summary 1st
               vs 2nd (Change
17             design Minimum).xlsx
     106T      Translation of Ex. 106                    11/8/23       11/9/23
18
     107       Lee Email to bearbom7                     11/8/23       11/9/23
19             11/6/15 12:25
     107A      Attachment: Attachment:                   11/8/23       11/9/23
20             T1XX Deco Quotation
               Summary 1st vs 2nd
21             (Change design).xlsx
     107B      Attachment: T1XX Deco                     11/8/23       11/9/23
22             Quotation Summary 1st
               vs 2nd (Change
23             design Minimum).xlsx
     107T      Translation of Ex. 107                    11/8/23       11/9/23
24   108       Lee Email to bearbom7                     11/8/23       11/9/23
               11/18/15
25   108A      Attachment: NA                            11/8/23       11/9/23
               Warehouse
26             Establishment Plan.pptx
27
28
                                          8.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 12 of 35 Page ID #:1963



1    108B      Attachment: WooKyung                      11/8/23       11/9/23
               T1XX Paint Film Deco
2              Summary (2015-11-
               15).xlsx
3    108T      Translation of Ex. 108                    11/8/23       11/9/23
4    109       Quan Email to Lee                         11/8/23
               11/30/15 9:53
5    109A      Attachment:                               11/8/23
               WooKyung.xlsx
6    109T      Translation of Ex. 109                    11/8/23
     110       Lee Email to bearbom7                     11/8/23       11/9/23
7              11/30/15 15:02
     110A      Attachment: WooKyung                      11/8/23       11/9/23
8              rev1.xlsx
     110B      Attachment:                               11/8/23       11/9/23
9              1804_T1XX_DECO_W
               KMIT_20151126 4th
10             SOR Film.xls
     110C      Attachment: WooKyung                      11/8/23       11/9/23
11             T1XX Paint-Film Deco
               Summary (2015-11)_4th
12             SOR Film.xlsx
     110T      Translation of Ex. 110                    11/8/23       11/9/23
13             Lee Email to bearbom7
     111                                                 11/8/23       11/9/23
14             11/30/15 19:52
     111A      Attachment:                               11/8/23       11/9/23
15             WooKyung rev1.xlsx
     111B      Attachment: WooKyung                      11/8/23       11/9/23
16             T1XX Paint-Film Deco
               Summary (2015-11)_4th
17             SOR Film.xlsx
     111C      Attachment:                               11/8/23       11/9/23
18             1804_T1XX_DECO_W
               KMIT_20151126 4th
19             SOR Film.xls
     111T      Translation of Ex. 111                    11/8/23       11/9/23
20
     112       Quan Email to Lee                         11/8/23
21             12/1/15
     112A      Attachment:WooKyung                       11/8/23
22             2.xlsx
     112T      Translation of Ex. 112                    11/8/23
23   113       Lee Email to bearbom7                     11/8/23       11/9/23
               12/10/15
24   113A      Attachment: J300 Weld                     11/8/23       11/9/23
               Line Issue
25   113T      Translation of Ex. 113                    11/8/23       11/9/23
26   114       Lee Email to Bearbom7                     11/8/23
               6/20/18
27   114T      Translation of Ex. 114                    11/8/23
28
                                          9.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 13 of 35 Page ID #:1964



1    115       Bearbom7 Email to Lee                     11/8/23       11/9/23
               attaching Yeo resume
2              12/5/15
     115A      Attachment: Suah Yeo                      11/8/23       11/9/23
3              092015
     115T      Translation of Ex. 115                    11/8/23       11/9/23
4              Recording of phone
     116                                                 11/8/23       11/9/23
5              conversation between
               Lee and So.
6    116T      Translation of Ex. 116                    11/8/23
     116A-T    Clip of Recording of                      11/8/23
7              phone conversation
               between Lee and So.
8
     116B-T    Clip of Recording of                      11/8/23       11/9/23
9              phone conversation
               between Lee and So.
10   117       Recording of phone                        11/8/23       11/9/23
               conversation between
11             Lee and So
     117T      Translation of Ex. 117
12             Clip of Recording of
     117A-T                                              11/8/23
13             phone conversation
               between Lee and So
14   117B-T    Clip of Recording of                      11/8/23       11/9/23
               phone conversation
15             between Lee and So
     118       Video of Brian So taken                   11/14/23     11/14/23
16             by Dietz Associates.
     118T      Transcript of Dietz
17             recording
     119       Lee Bank Records                          11/8/23
18   119T      Translation of Ex 119                     11/8/23
19   120       Certification for Ex.
               119T
20   150       Chul Kim’s text                           11/13/23     11/13/23
               messages received from
21             Korea
     150T      Translations of Chul                      11/13/23     11/13/23
22             Kim’s text messages
     151       Lee’s bank records
23             received from Korea
     151T      Translations of Lee’s
24             bank records
     152       Los Altos Vault receipt                   11/15/23     11/15/23
25             received from Korea
     153       Foreign record
26             certificate
     154       Certification for Ex.
27             150T and 151T
28
                                         10.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 14 of 35 Page ID #:1965



1    200       GM Award from DOE                         11/15/23     11/15/23
               DE-EE0007311
2    200A      Terms and Amendments                      11/15/23     11/15/23
               to Exhibit 200
3    200B      Invoices and accounting                   11/15/23     11/15/23
               records for Exhibit 200.
4    201       GM Certificate for Ex.
               200
5    203       Yoon Email to Quan &                      11/14/23     11/14/23
               Yu re MIT profile
6              presentation 8/13/15
     203A      Attachment: GMNA                          11/14/23     11/14/23
7              WKMIT profile
               presentation
8              08132015.pdf
     204       Quan email re
9              commodity strategy
               8/14/15
10             Attachment: DALOP
     204A
               Community Strategy 15-
11             08-14b.pptx
     205       So Email to Murphy re
12             Deco trim cost
               standardization 8/18/15
13             DALOP Commodity
     205A
14             Strategy 15-08-17a.pptx
     210       Yoon Email to Quan re
15             supplier introduction
               9/8/2015
16   211       Quan Email to Yoon re                     11/14/23     11/14/23
               meeting with So 9/18/15
17   212       Quan Email to Yoon re
               Tech review 10/28/15
18   213       Quan email re RFQs to
               suppliers. 10/8/15
19   213A      T1XX PU Global
               RFQMT Services
20             Request Form
               Authentic-38903 15-10-
21             08 .xlsx
     213B      T1XX PU Global
22             RFQMT Services
               Request Form Chrome-
23             38901 15-10-08 .xlsx
     213C      T1XX PU Global
24             RFQMT Services
               Request Form Paint-
25             Film-3890215-10-08
               .xlsx
26   218       Quan email to Yoon re
               T1XX re RFQ 10/16/15
27   219       RFQ dated 10/16/15
28
                                          11.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 15 of 35 Page ID #:1966



1    220       Quan Email to Yoon and
               So re T1XX Due
2              November 18th 11/15/15
     220A      Attachment: WooKyung
3              T1XX Paint-Film Deco
               Summary (2015-11-
4              12).xlsx
     221       Quan Email to Yoon &
5              So granting additional
               time to MIT. 11/9/15
6              3:45AM
     221A      Attachment: GM
7              1804 RS.xls
     221B      Attachment: EZ1810
8              R4.xlsm
     221C      Attachment: T1XX
9              Chrome-Paint-Film
               Deco Summmary.xlsx
10             Attachment: Tech
     221D
               Review Notes
11             Calendar Appointment:
     222
               So, Quan, Yoon 11/9/15
12             MIT email to Quan & So
     223
               with 2nd round
13             quotation. 11/12/15
14   223A      Attachment:
               1804_T1XX_DECO_W
15             KMIT_20151111 film
               change 2nd.xls
16   223B      Attachment:
               1810_T1XX_DECO_W
17             KMIT_20151111_2nd.xl
               sm
18   223C      Attachment:
               T1XXX_Appendix
19             M_Supplier Concept
               Sheet_Paint_Film_NOV
20             4-2015.xlsm
     223D      Attachment: T1XX
21             Chrome-Paint-Film
               Deco Summary Film
22             change WKMIT.xlsx
     223E      Attachment:
23             1804_T1XX BEZEL
               AIR
24             OUTLET WKMIT.xls
     223F      Attachment:
25             1810_T1XX_DECO
               BEZEL
26             OTLT_(WKMIT_20151
               104)_2nd.xlsm
27
28
                                         12.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 16 of 35 Page ID #:1967



1    224       Quan email to Yoon &
               So RE: T1XX Next
2              Quotation Due
               November 18th 11/15/15
3              3:43PM
4    224A      Attachment: WooKyung
               T1XX Paint-Film Deco
5              Summary (2015-11-12)-
               .xlsx
6    225       So Email to Quan RE:
               equal opportunity
7              11/15/15 10:33PM
     226       Quan email to So
8              11/15/15 11:12PM
     226A      Attachment: $10.712 M
9              DALOP Pre-RFQ CIUC
               Decorative Trim 11-15-
10             15.pptx
     227       Quan email to Yoon RE:
11             RE:RE: T1XX PU Next
               Quotation Due
12             (Wednesday November
               18th @ 5:00pm.
13             11/16/15 7:21PM
     227A      Attachment: WooKyung
14             T1XX Paint-Film Deco
               Summary (2015-11-15)-
15             .xlsx
     228       MIT Email to Quan &
16             So with 3rd round quotes
               11/18/2015. 9:51PM
17             Attachment: WooKyung
     228A
               T1XX Paint-Film Deco
18             Summary (2015-11-
               15) 3rd.xlsx
19             Attachment:
     228B
20             1804_T1XX_DECO_W
               KMIT 20151118 3rd.xls
21   228C      Attachment:
               1810_T1XX_DECO_W
22             KMIT_20151118_3rd.xl
               sm
23   228D      Attachment:
               1804_T1XX BEZEL
24             AIR
               OUTLET WKMIT.xls
25   228E      Attachment:
               1810_T1XX_DECO
26             BEZEL
               OTLT_(WKMIT_20151
27             118).xlsm

28
                                          13.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 17 of 35 Page ID #:1968



1    228F      Attachment:
               1810_T1XX_DECO_(W
2              KMIT)_PROTO_3rd.xls
               m
3    228G      Attachment:
               CBDS_v19f_WKMIT.xl
4              sm
     228H      Attachment:
5              T1XX_1738i_WKMIT_
               20151113.xlsm
6    228I      Attachment:
               T1XXX_Appendix
7              M_Supplier Concept
               Sheet_Paint_Film_NOV
8              4-2015.xlsm
     228J      Attachment: NA
9              Warehouse
               Establishment Plan.pptx
10   229       Yoon Email to Quan RE:
               T1XX eBOM update
11             11/20/15
     230       Yoon Email to Yu RE
12             OCM Template.
               11/23/2015 3:52AM
13             Attachment: Supplier
     230A
               Data Collection
14             workbook for
               OCM_WooKyung(Bupy
15             eong).xlsx
     230B      Attachment: Supplier
16             Data Collection
               workbook for
17             OCM_WooKyung(Busa
               n).xlsx
18             Quan Email to So with
     231                                                 11/8/23       11/8/23
19             3rd round summaries.
               11/23/2015 5:38AM
20   231A      Attachment: @ T1XX                        11/8/23       11/8/23
               Paint-Film Deco Round
21             3 (With 2 Shot)
               Summary.xlsx
22   231B      Attachment: @ T1XX
               Chrome Deco Round 3
23             (With 2 Shot)
               Summary.xlsx
24   232       Quan email to all
               suppliers RE T1XX
25             eBOM update 1/24/15
     232A      Attachment:
26             T1XXX_Appendix B2
               EBOM NOV23-
27             2015.xlsx

28
                                         14.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 18 of 35 Page ID #:1969



1    240       MIT Email to Quan with                    11/14/23     11/14/23
               revised quotes 12/1/2015
2    240A      Attachment:
               1804_T1XX BEZEL
3              AIR
               OUTLET WKMIT.xls
4    240B      Attachment:
               1804_T1XX_DECO_W
5              KMIT.xls
     240C      Attachment:
6              1810_T1XX_DECO
               BEZEL
7              OTLT (WKMIT).xlsm
     240D      Attachment:
8              1810_T1XX_DECO_(W
               KMIT) PROTO.xlsm
9    240E      Attachment:
               1810_T1XX_DECO_W
10             KMIT.xlsm
     240F      Attachment:
11             CBDS_v19f_Bezel
               OTLT WKMIT.xlsm
12             Attachment:
     240G
               CBDS_v19f_WKMIT.xl
13             sm
     240H      Attachment:
14             T1XX_1738i_Bezel
               OTLT.xlsm
15             Attachment:
     240I
16             T1XX_1738i_WKMIT.x
               lsm
17   240J      Attachment: WooKyung                      11/14/23     11/14/23
               T1XX Paint-Film Deco
18             Summary.xlsx
     240K      Attachment:
19             CBDS_v19f_Bezel
               OTLT WKMIT.xlsm
20   241       MIT Email to Quan RE
               tooling update 12/6/2015
21             12:08AM
     241A      Attachment: WooKyung
22             T1XX Paint-Film Deco
               Summary.xlsx
23   242       MIT Email to Quan RE
               1810 updates 12/6/2015
24             12:09AM
     242A      Attachment:
25             1810_T1XX_APPLIQU
               E FRT
26             AREST WKMIT.xlsm
     242B      Attachment:
27             1810_T1XX_APPLIQU
               E RR AREST EXT
28             CAB WKMIT.xlsm

                                          15.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 19 of 35 Page ID #:1970



1    242C      Attachment:
               1810_T1XX_APPLIQU
2              E RR
               AREST WKMIT.xlsm
3    242D      Attachment:
               1810_T1XX_CONSOL
4              E DECO WKMIT.xlsm
     242E      Attachment:
5              1810_T1XX_DECO
               BEZEL
6              OTLT (WKMIT).xlsm
     242F      Attachment:
7              1810_T1XX_DECO_
               (WKMIT) PROTO.xlsm
8    242G      Attachment:
               1810_T1XX_PLATE
9              CNSL RR
               TR WKMIT.xlsm
10   242H      Attachment:
               1810_T1XX_PLATE IP
11              PAINT WKMIT.xlsm
     242I      Attachment:
12             1810_T1XX_PLATE IP
               FILM WKMIT.xlsm
13             1810_T1XX_STRG
     242J
               WHL
14             SPOKE WKMIT.xlsm
     243       Yu Email to Quan & So
15             re MIT minerals conflict.
               12/7/15
16             Attachment: Paint_Film
     243A
17             Bidlist.xlsx
     243B      Attachment: T1XX
18             Bidlist.xlsx
     244       Yu email to Quan & So
19             RE updated PowerPoint
               12/8/15 7:11AM
20   244A      Attachment: $82 96M
               T1XX Decorative Trim
21             Recommendation 12-06-
               15 v2.pptx
22   245       Quan Email to Lauzon                      11/8/23       11/8/23
               with PowerPoint 12/8/15
23             1:05PM
     245A      Attachment: $82 96M                       11/8/23       11/8/23
24             T1XX Decorative Trim
               Recommendation 12-07-
25             15.pptx
     246       Quan Email to Yu with
26             PowerPoint 12/8/15
               1:07PM
27
28
                                           16.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 20 of 35 Page ID #:1971



1    246A      Attachment: $82 96M
               T1XX Decorative Trim
2              Recommendation 12-07-
               15.pptx
3    247       Quan email to Yoon &                      11/14/23     11/14/23
               So RE logistic cost
4              12/8/15 3:24PM
     248       Webster Email to Quan
5              RE: tooling review
               12/8/15 4:39PM
6    248A      Attachment: 53840-
               1810_T1XX_APPLIQU
7              E FRT
               AREST WKMIT.xlsm
8    248B      Attachment: 53840-
               1810_T1XX_APPLIQU
9              E RR AREST EXT
               CAB WKMIT.xlsm
10   248C      Attachment: 53840-
               1810_T1XX_APPLIQU
11             E RR
               AREST WKMIT.xlsm
12             Attachment: 53840-
     248D
               1810_T1XX_CONSOL
13             E DECO WKMIT.xlsm
     248E      Attachment: 53840-
14             1810_T1XX_DECO
               BEZEL
15             OTLT (WKMIT).xlsm
     248F      Attachment: 53840-
16             1810_T1XX_PLATE
               CNSL RR
17             TR WKMIT.xlsm
18   248G      Attachment: 53840-
               1810_T1XX_PLATE IP
19              PAINT WKMIT.xlsm
     248H      Attachment: 53840-
20             1810_T1XX_PLATE IP
               FILM WKMIT.xlsm
21   248I      Attachment: 53840-
               1810_T1XX_STRG
22             WHL
               SPOKE WKMIT.xlsm
23   249       Quan Email to Yu & So
               re updated PowerPoint
24             12/11/15 1:43AM
     249A      Attachment: $82 96M
25             T1XX Decorative Trim
               Recommendation 1208-
26             15.pptx
     250       Yu Email to Quan & So
27             RE: updated PowerPoint.
               12/11/15 1:56AM
28
                                         17.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 21 of 35 Page ID #:1972



1    250A      Attachment: $82 96M
               T1XX Decorative Trim
2              Recommendation 1208-
               15.pptx
3    251       Quan Email to Yu Re:                      11/8/23       11/8/23
               Huawei cheaper than
4              MIT 12/11/15 3:01AM
     251A      Attachment: Seagate                       11/8/23       11/8/23
5              Crystal Reports –
               WWPRP221.pdf
6    252       Quan Email to Yu Re:
               Seagate Crystal Reports
7              12/11/15 3:33AM
     252A      Attachment: Seagate
8              Crystal Reports –
               WWPRP221.pdf
9    253       Quan Email to Lauzon,                     11/8/23       11/8/23
               So, Yu with updated
10             PowerPoint 12/11/15
               11:43PM
11             Attachment: $84.6M
     253A                                                11/8/23       11/8/23
               T1XX Decorative Trim
12             Recommendation 12-10-
               15.pptx
13             Quan Email to Lauzon,
     254                                                 11/14/23     11/14/23
               So, Yu with updated
14             PowerPoint 12/12/15
               4:29PM
15             Attachment: $84.6M
     254A                                                11/14/23     11/14/23
               T1XX Decorative Trim
16             Recommendation 12-10-
               15.pptx
17             Quan Email chain to
     255
18             Yoon extending deadline
               12/20/15 9:19PM
19   256       Quan Email to So re                       11/14/23     11/14/23
               Award. 12/20/15
20             11:16PM
     257       Quan Email to Yoon &
21             So re Award. 12/21/15
               3:20PM
22   258       Yoon Email to Quan &                      11/14/23     11/14/23
               So re Award. 12/21/15
23             5:41PM
     259       McMillen Email to
24             Murphy confirming MIT
               would win and checking
25             on GM Korea status
               12/8/15
26   260       Quan Email re MIT
               winning contract.
27             12/20/15 10:43pm

28
                                         18.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 22 of 35 Page ID #:1973



1    270       MIT cancelation letter
2    271       Yoon Email to Quan &                      11/14/23     11/14/23
               So canceling contract –
3              1/18/16
     272       Murphy Email dropping
4              MIT as prime. 1/19/16
     273       Quan Email to So RE:
5              additional cost savings.
               2/12/16
6    273A      Attachment: $66 M
               T1XX (2 Shot-Paint-
7              Film) Decorative Trim
               Recommendation 02-12-
8              16.pptx
     273B      Attachment: T1XX Deco
9              Trim APV-Savings
               Summary.xlsx
10   273C      Attachment: T1XX Deco
               Trim APV-Savings
11             Summary.pdf
     300       Murphy Calendar:
12             Sourcing meeting
               9/29/15
13   301       Murphy Calendar:                          11/8/23       11/8/23
               12/8/15 and 12/15/15
14   302       Murphy Calendar:
               Sourcing Process with
15             Engineering 12/15/15
     303       Murphy Calendar:
16             Cockpit ECT re T1XX
               12/17/15
17   309       Brian So Personnel File                   11/15/23     11/15/23
     310       Brian So GM Training                      11/15/23     11/15/23
18             record
     311       Certificate for Ex. 310
19
     312       GM Certificate
20   400       So Wells Fargo                            11/15/23     11/15/23
               Statements x7071
21   401       So Savings Statements                     11/15/23     11/15/23
               x4221
22   402       Wells Fargo Statements                    11/15/23     11/15/23
               x9697
23   403       $300 Check to John Yeo
               7/18/15
24   404       $7k Check to Thang                        11/15/23     11/15/23
               Quan 10/5/15
25   405       $4k Check to John Yeo
               10/5/15
26   406       Wells Fargo business
               record cert. for Ex 400-
27             405
28
                                          19.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 23 of 35 Page ID #:1974



1    450       DOE Assistance                            11/15/23     11/15/23
               Agreement x6826
2    450A      DOE x6826 Terms and                       11/15/23     11/15/23
               Conditions
3    450B      GM Invoices to DOE for                    11/15/23     11/15/23
               x6826
4    451       DOE Assistance                            11/15/23     11/15/23
               Agreement x7284
5    451A      DOE x7284 Terms and                       11/15/23     11/15/23
               Conditions
6    451B      GM Invoices to DOE for                    11/15/23     11/15/23
               x7284
7              DOE Assistance
     452                                                 11/15/23     11/15/23
               Agreement x7311
8              DOE x7311 Terms and
     452A                                                11/15/23     11/15/23
               Conditions
9              GM Invoices to DOE for
     452B                                                11/15/23     11/15/23
               x7311
10             Certificate for Ex 450-
     453
11             452
     500       John Yeo Email to So                      11/15/23     11/15/23
12             12/2/15
     510       Platt Diagram
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                         20.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 24 of 35 Page ID #:1975



1
2
3
4
5
6
7
8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       Case No. 2:22-CR-00108-AB
11
                     Plaintiff,                      DEFENSE REVISED EXHIBIT LIST
12
13            vs.

14   HYOUNG NAM SO,
       aka “Brian So,”
15
                      Defendant.
16
17
18
      Exhibit              Description                   Objection and   Date         Date
19    Number                                               Reasons     Identified   Admitted
20   1001       Hwan Duk Lee Travel History
     1003       Brian So Travel History
21   1005       Chul Kim Travel History                                 11/13/23
22    1006      Defendant's Transcription and
                Translation of Consensually
23              Recorded Call (1)
      1007      Defendant's Transcription and
24              Translation of Consensually
                Recorded Call (2)
25
     1009       Los Altos Vault Website Home Page
26   1011       FinCen Form 105
     1012       Brian So Naturalization Paperwork
27
     1013       B So Photo 1
28
                                                    1.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 25 of 35 Page ID #:1976



1    1014       B So Photo 2
     1015       B So Photo 3
2
     1016       B So Photo 4
3    1017       B So Diploma
4    1018       B So Photo 6
     1019       B So Photo 7
5    1020       B So Photo 8
6    1021       B So Photo 9
     1022       B So Photo 10
7    1023       B So Diploma University of Rhode
8               Island
     1024       B So Photo 12
9    1025       B So Photo 13
10   1026       B So Photo 14
     1027       B So Photo 15
11   1028       B So Photo 16
12   1029       B So Photo 17
     1030       B So Photo 18
13   1031       B So Photo 19
14   1032       B So Photo 20
     1033       B So Photo 21
15
     1034       B So Photo 22
16   1041       Woo Kyung MIT Website - Welcome
                Page
17   1042       Woo Kyung MIT Website - Award                 11/9/23
                History
18
     1043       Photo of Hwan Duk Lee
19   1044       Photo of Chul Kim                             11/13/23   11/13/23
     1045       Photo of John Choi
20
     1046       Photo of Kyung Min Kim
21   1047       Photo of JaWon Suh
     1048       Picture of Silhouette
22
     1050       2015 12 19 Documents Seized From
23              Lee (Passport Copy)
     1051       2015 12 19 Documents Seized From
24              Lee (Passport Copy 2)
     1052       2015 12 19 Documents Seized From
25
                Lee (Passport Copy 3)
26   1053       2015 12 19 Documents Seized From
                Lee (Korean Itinerary)
27   1054       2015 12 19 Documents Seized From
                Lee (Business Card)
28
                                                   2.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 26 of 35 Page ID #:1977



1    1055       2015 12 19 Documents Seized From
                Lee (Q&A USA Immigration)
2    1056       2015 12 19 Documents Seized From
                Lee (FinCen Form 105)
3
     1057       2015 12 19 Documents Seized From
4               Lee (S. Yeo Resume)
     1058       2015 12 19 Documents Seized From
5               Lee (Flight Itinerary)
     1059       2015 12 19 Documents Seized From
6               Lee (Flight Ticket)
     1060       2015 12 19 Documents Seized From
7
                Lee (Flight Ticket 2)
8    1070       2015 12 19 Photo Seized from Hwan
                Duk Lee's Cell Phone (1)
9    1071       2015 12 19 Photo Seized from Hwan
                Duk Lee's Cell Phone (2)
10   1072       2015 12 19 Photo Seized from Hwan
                Duk Lee's Cell Phone (3)
11
     1073       2015 12 19 Photo Seized from Hwan
12              Duk Lee's Cell Phone (4)
     1074       2015 12 19 Photo Seized from Hwan
13              Duk Lee's Cell Phone (5)
     1075       2015 12 19 Photo Seized from Hwan
14              Duk Lee's Cell Phone (6)
     1076       2015 12 19 Photo Seized from Hwan
15
                Duk Lee's Cell Phone (7)
16   1077       2015 12 19 Photo Seized from Hwan
                Duk Lee's Cell Phone (8)
17   2001       2015 11 23 Hertz Rental Car Record
                (Chul Kim)
18   2002       2015 12 15 Alamo Rental Car Record
                (Chul Kim)
19
     2003       2016 10 05 Los Altos Vault Contract
20   2004       2016 10 10 Avis Records (L. Yoon)
     2005       Google Document
21
     2006       Delta Flight Records (B. So)
22   2007       Delta Flight Records (T. Quan)
     2008       Marriott Records Certification
23
     2009       Plazanos Correspondence re Hotel
24              Record
     2010       Marriott Stay Records (Hwan Duk               11/13/23   11/13/23
25              Lee)
     2011       Hwan Duk Lee Delta Flight Record (1)
26
     2012       Hwan Duk Lee Delta Flight Record (2)
27   2013       Delta Business Records Certification
28   2020       AT&T Records (1)

                                                    3.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 27 of 35 Page ID #:1978



1    2021       AT&T Records (2)
     2022       AT&T Records (3)
2
     2023       AT&T Records (4)
3    2024       AT&T Records (5)
4    2025       AT&T Records (6)
     2026       Verizon Records (1)
5    2027       Verizon Records (2)
6    2028       Verizon Records (3)
     2029       Verizon Records (4)
7    2030       Verizon Subscriber Information (1)
8    2031       Verizon Subscriber Information (2)
     2032       Verizon Subscriber Information (3)
9
     2033       Verizon Subscriber Information (4)
10   2034       AT&T Subscriber Information (1)
     2035       AT&T Subscriber Information (2)
11
     2036       AT&T Subscriber Information (3)
12   2037       AT&T Subscriber Information (4)
13   2038       AT&T Subscriber Information (5)
     2039       AT&T Subscriber Information (6)
14   2040       T-Mobile Subscriber Information (1)
15   2041       Ally Financial Inc. Subpoena
                Response Letter
16   2042       Ally Financial Inc. Declaration of
                Records Custodian
17   2043       B. So Ally Financial Inc. Records
18   3001       2015 01 19 Email re: E2SC                     11/8/23    11/8/23
     3001A      2015 01 19 Email re: E2SC -                   11/8/23    11/8/23
19              Attachment A
20
     3001B      2015 01 19 Email re: E2SC -                   11/8/23    11/8/23
                Attachment B
21   3004       2015 01 26 Email re: DALOP
                Commodity Strategy Review
22   3004A      2015 01 26 DALOP Commodity
                Strategy Review - Attachment
23   3006       2015 03 04 Email from GM Admin re:            11/8/23
                Summit Cost Reductions
24   3007       2015 04 08 Email from B. So to L.
25              Yoon
     3008       2015 04 20 Email from G. Yu to H.
26              Lee, L. Yoon
     3009       2015 04 23 Meeting Invitation from
27              G. Yu re: WK MIT Cost Model
     3010       2015 09 08 Email from L. Yoon to T.
28
                                                     4.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 28 of 35 Page ID #:1979



1               Quan

2
     3011       2015 09 10 Email from G. Yu to D.             11/8/23    11/8/23
                Lauzon
3    3012       2015 09 23 Email L. Yoon to T. Quan
     3014       2015 10 08 Email from T. Quan to T.
4               Montgomery
     3014A      2015 10 08 Email from T. Quan to T.
5               Montgomery - Attachment A
6    3014B      2015 10 08 Email from T. Quan to T.
                Montgomery - Attachment B
7    3014C      2015 10 08 Email from T. Quan to T.
                Montgomery - Attachment C
8    3017       2015 10 23 Email T. Quan to B.
                Worley
9    3018       2015 10 17 Email from L. Yoon to T.
10              Quan
     3019       2015 10 26 Email from T. Quan to D.
11              Krysaik
     3020       2015 10 30 T1XX Technical Review              11/8/23    11/8/23
12              PowerPoint
     3021       2015 11 05 Email from T. Quan to
13              T1XX Suppliers
14   3021A      2015 11 05 Email from T. Quan to
                T1XX Suppliers - Attachment A
15   3021B      2015 11 05 Email from T. Quan to
                T1XX Suppliers - Attachment B
16   3021C      2015 11 05 Email from T. Quan to
                T1XX Suppliers - Attachment C
17   3021D      2015 11 05 Email from T. Quan to
                T1XX Suppliers - Attachment D
18
     3021E      2015 11 05 Email from T. Quan to
19              T1XX Suppliers - Attachment E
     3021F      2015 11 05 Email from T. Quan to
20              T1XX Suppliers - Attachment F
     3028       2015 11 06 Email T. Quan to L. Yoon
21
     3029       2015 11 09 Email from T. Quan to L.
22              Yoon
     3029A      2015 11 09 Email from T. Quan to L.
23              Yoon - Attachment A
     3029B      2015 11 09 Email from T. Quan to L.
24              Yoon - Attachment B
     3029C      2015 11 09 Email from T. Quan to L.
25              Yoon - Attachment C
26   3029D      2015 11 09 Email from T. Quan to L.
                Yoon - Attachment D
27   3034       2015 11 09 Email T. Quan to L. Yoon,
                B. So
28
                                                   5.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 29 of 35 Page ID #:1980



1    3035       2015 11 15 Email from B. So to T.
                Quan
2    3036       2015 11 15 Email from B. So to T.
                Quan
3
     3037       2015 11 16 Email L. Yoon to T. Quan
4    3037A      2015 11 16 Email L. Yoon to T. Quan -
                Attachment A
5    3037B      2015 11 16 Email L. Yoon to T. Quan -
                Attachment B
6
     3037C      2015 11 16 Email L. Yoon to T. Quan -
7               Attachment C
     3041       2015 11 23 Email from T. Quan to B.
8               So
     3041A      2015 11 23 Email from T. Quan to B.
9               So - Attachment A
     3041B      2015 11 23 Email from T. Quan to B.
10              So - Attachment B
11   3044       2015 11 23 Email T. Quan to B. So
     3044A      2015 11 23 Email T. Quan to B So -
12              Attachment A
     3044B      2015 11 23 Email T. Quan to B So -
13              Attachment B
14   3044C      2015 11 23 Email T. Quan to B So -
                Attachment C
15   3045       2015 12 01 Email from Kyung Hoon
                Lee to T. Quan
16   3045A      2015 12 01 Email from Kyung Hoon
                Lee to T. Quan - Attachment A
17   3045B      2015 12 01 Email from Kyung Hoon
18              Lee to T. Quan - Attachment B
     3045C      2015 12 01 Email from Kyung Hoon
19              Lee to T. Quan - Attachment C
     3045D      2015 12 01 Email from Kyung Hoon
20              Lee to T. Quan - Attachment D
     3045E      2015 12 01 Email from Kyung Hoon
21              Lee to T. Quan - Attachment E
22   3045F      2015 12 01 Email from Kyung Hoon
                Lee to T. Quan - Attachment F
23   3045G      2015 12 01 Email from Kyung Hoon
                Lee to T. Quan - Attachment G
24   3045H      2015 12 01 Email from Kyung Hoon
                Lee to T. Quan - Attachment H
25   3045I      2015 12 01 Email from Kyung Hoon
26              Lee to T. Quan - Attachment I
     3045J      2015 12 01 Email from Kyung Hoon
27              Lee to T. Quan - Attachment J
     3056       2015 12 02 Email from Kyung Hoon
28
                                                     6.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 30 of 35 Page ID #:1981



1               Lee to T. Quan
     3056A      2015 12 02 Email from Kyung Hoon
2               Lee to T. Quan - Attachment A
3    3056B      2015 12 02 Email from Kyung Hoon
                Lee to T. Quan - Attachment B
4    3056C      2015 12 02 Email from Kyung Hoon
                Lee to T. Quan - Attachment C
5    3056D      2015 12 02 Email from Kyung Hoon
                Lee to T. Quan - Attachment D
6    3056E      2015 12 02 Email from Kyung Hoon
7               Lee to T. Quan - Attachment E
     3056F      2015 12 02 Email from Kyung Hoon
8               Lee to T. Quan - Attachment F
     3056G      2015 12 02 Email from Kyung Hoon
9               Lee to T. Quan - Attachment G
     3056H      2015 12 02 Email from Kyung Hoon
10              Lee to T. Quan - Attachment H
11   3056I      2015 12 02 Email from Kyung Hoon
                Lee to T. Quan - Attachment I
12   3056J      2015 12 02 Email from Kyung Hoon
                Lee to T. Quan - Attachment J
13   3065       2015 12 04 Email from T. Quan to H.
                Lee
14   3065A      2015 12 04 Email from T. Quan to H.
15              Lee - Attachment A
     3065B      2015 12 04 Email from T. Quan to H.
16              Lee - Attachment B
     3065C      2015 12 04 Email from T. Quan to H.
17              Lee - Attachment C
     3066       2015 02 18 Email from A.
18              Katharopolous to D. Murphy
19   3067       2015 12 04 Email T. Quan to K. Lee
     3067A      2015 12 04 Email T. Quan to K. Lee -
20              Attachment A
     3067B      2015 12 04 Email T. Quan to K. Lee -
21              Attachment B
     3067C      2015 12 04 Email T. Quan to K. Lee -
22
                Attachment C
23   3068       2015 12 08 Email from T. McMillen
                to D. Murphy, B. So
24   3069       2015 12 08 Email from T. Quan to D.
                Lauzon
25   3069A      2015 12 08 Email from T. Quan to D.
                Lauzon - Attachment
26
     3071       2015 12 11 Email from T. Quan re:
27              Updated T1XX Package
     3071A      2015 12 11 Email from T. Quan re:
28              Updated T1XX Package - Attachment

                                                  7.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 31 of 35 Page ID #:1982



1    3073       2015 12 11 Email T. Quan to G. Yu             11/8/23    11/8/23
     3073A      2015 12 11 Email T. Quan to G. Yu -
2
                Attachment A
3    3074       2015 12 20 Email from T. Quan to B.
                So
4    3075       2015 12 21 Email from L. Yoon to WK
                MIT
5    3076       2016 01 26 Email from K. Reynolds to
                D. Lauzon
6
     3076A      2016 01 26 Email from K. Reynolds to
7               D. Lauzon A
     3077       2016 01 18 Email from L. Yoon to T.
8               Quan
     3078       2016 01 19 D. Murphy to P. Swadia
9    3079       2016 01 19 Meeting invitation from
10              T. Quan to L. Yoon
     3080       2016 01 21 Email from L. Yoon to T.
11              Quan
     3081       2016 01 21 Email from L. Yoon to T.
12              Quan - Attachment
     3083       2016 02 12 Email from T. Quan to B.
13              So
14   3084       2016 02 13 Email from T. McMillen
                to B. So
15   3085       2016 03 21 Email from L. Yoon to B.
                So
16   3086       2016 03 24 Email from L. Yoon to B.
                So
17   3087       2016 04 01 Email from B. So to L.
18              Yoon
     3088       2016 04 27 Email from T. Quan to L.
19              Yoon
     3089       2016 05 04 Email from L. Yoon to T.
20              Quan
     3090       2017 10 20 GM Korea Letter to WK
21              MIT
22   3092       2017 11 06 WK MIT Response to GM
     3093       B. So 2014 GM Evaluation
23   3094       B. So 2015 GM Evaluation
24   3095       G Yu 2014 GM Evaluation
     3096       GM - WK MIT May 2015 Contract
25              Amendment
     3097       GM - WK MIT May 2015 Contract No:
26              214F02J5
27   3098       T. Quan 2018 GM Evaluation
     3099       2010 08 27 Purchase Contract                  11/8/23    11/8/23
28
                                                    8.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 32 of 35 Page ID #:1983



1    3100       2018 Quan GM Evaluation
     3101       2015 Quan GM Evaluation
2
     4001       2015 10 15 ROI HSI T. Quan
3    4002       2015 12 18 ROI HSI Unidentified
                Informant
4    4003       2015 12 18 ROI-N Handwritten Notes
5    4004       2015 12 22 ROI HSI Hwan Duk Lee
     4005       2015 12 28 ROI HSI C. Kim
6    4006       2015 12 28 ROI HSI S. Friedman (C.
7               Kim)
     4007       2015 12 28 ROI-N HSI Handwritten
8               Notes
     4008       2016 01 08 ROI HSI Kyung Min Kim
9    4009       2016 01 08 ROI-N Handwritten Notes
10   4010       2016 01 10 ROI HSI Request to HSI
                Attaché Seoul
11   4011       2016 01 10 ROI IRS Chul Kim                   11/13/23
12   4012       2016 01 10 ROI-N Handwritten Notes
     4013       2016 01 21 ROI IRS J. Choi
13   4014       2016 01 21 ROI Undercover
                Recording Chul Kim
14
     4015       2016 01 21 ROI Undercover
15              Recording Chul Kim - Transcript
                (English)
16   4016       2016 04 06 ROI HSI C. Kim                     11/13/23
     4017       2016 04 06 ROI-N Handwritten Notes
17
     4018       2016 08 24 ROI HSI C. Kim
18   4019       2017 02 14 ROI IRS C. Kim                     11/13/23
     4020       2017 02 14 ROI-N Handwritten Notes
19
     4021       2017 02 17 ROI HSI C Ki+B253m.
20   4022       2017 02 17 ROI-N Handwritten notes
21   4023       2017 05 25 C. Kim Statement                   11/13/23
                Republic of Korea - Translated
22   4024       2017 06 09 C. Kim Interview Republic          11/13/23
                of Korea - Original
23   4025       2017 06 09 C. Kim Interview Republic
                of Korea - Translated (1)
24   4026       2017 06 09 C. Kim Interview Republic
25              of Korea - Translated (2)

26
27
28
                                                     9.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 33 of 35 Page ID #:1984



1    4027       2017 06 13 Lee Interview Republic of         11/9/23
                Korea (1) - Original                         Pgs.:
2
                                                             30
3                                                            37
4                                                            11/13/23
     4027T      2017 06 13 Lee Interview Republic of
5               Korea (1) - Translated
     4029       2017 06 13 Lee Interview Republic of          11/13/23
6               Korea (2) - Original
     4029T      2017 06 13 Lee Interview Republic of
7               Korea (2) - Translated
8    4031       2017 06 15 Republic of Korea
                Opinion on Grounds for Arrest H. Lee
9    4032       2017 06 29 C. Kim Interview Republic          11/13/23
                of Korea - Original
10   4032T      2017 06 29 C. Kim Interview Republic          11/13/23
                of Korea - Translated
11   4034       2017 11 17 ROI HSI Collateral Seizure
12              of $3.2m
     4035       2017 12 13 ROI IRS Hawn Duk Lee
13   4036       2017 12 13 ROI-N Handwritten Notes
     4037       2017 12 14 ROI-N Handwritten Notes
14
     4038       2020 02 26 ROI HSI L. Yoon
15   4039       2020 02 26 ROI-N Handwritten Notes
16   4040       2020 03 03 ROI HSI Yeo
     4041       2020 03 04 ROI-N Handwritten Notes
17   4042       2020 03 11 ROI HSI B. So
18   4043       2020 03 30 ROI HSI D. Vo
     4044       2020 03 30 ROI-N Handwritten Notes
19   4045       2020 08 17 Collateral Request HSI T.
20              Quan
     4046       2020 09 10 ROI HSI D. Murphy                 11/8/23
21   4047       2020 09 24 ROI HSI T. Quan                   11/14/23
22                                                           Pg. 7
     4048       2020 09 24 ROI-E Exhibits
23   4049       2020 09 24 ROI-N Handwritten Notes
24   4050       2020 10 08 ROI HSI J. Yeo
     4051       2020 10 16 ROI HSI L. Yoon
25   4052       2020 10 16 ROI-N Handwritten Notes
26   4053       2020 11 18 ROI HSI L. Yoon
     4054       2020 11 18 ROI-N Handwritten Notes
27
     4055       2020 11 19 ROI J. Yeo
28
                                                  10.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 34 of 35 Page ID #:1985



1    4056       2020 11 19 ROI-N Handwritten Notes
     4057       2021 04 12 ROI HSI J. Ferry
2
     4058       2021 04 12 ROI-N Handwritten Notes
3    4059       2021 04 14 ROI HSI D. Murphy
4    4060       2021 04 14 ROI-N Handwritten Notes
     4061       2021 05 12 ROI HSI Hwan Duk Lee
5    4062       2021 05 12 ROI-N Handwritten Notes
6    4063       2021 05 17 ROI HSI J. Ferry
     4064       2021 05 17 ROI-N Handwritten Notes
7    4065       2021 06 08 Interview Quan
8               Recording (1)
     4066       2021 06 08 Interview Quan                     11/14/23
9               Recording (2)
     4067       2021 06 08 Interview Quan
10              Recording (3)
     4068       2021 06 22 ROI HSI T. Quan
11
     4069       2021 06 22 ROI-N Handwritten Notes
12   4070       2023 09 12 ROI HSI S. Yeo
13   4071       2023 09 14 ROI HSI J. Yeo
     4072       2023 09 14 ROI Recording
14   4073       Photo from Kyung Min Kim Cell
                Phone (1)
15
     4074       Photo from Kyung Min Kim Cell
16              Phone (2)
     4075       Photo from Kyung Min Kim Cell
17              Phone (3)
     4076       2023 11 01 ROI HSI D. Murphy
18   4077       Handwritten Note Hwan Duk Lee
19              interview
     4078       2023 11 08 Handwritten Hwan Duk
20              Lee Interview notes
     5001       2016 11 06 Lee Transactions
21   5002       Chul-Kim Lee Texts - Translated
22   5003       Chul-Kim Lee Texts - Translated               11/13/23
     5004       Summary Charts
23
     5005       2016 03 02 Chul Kim Agreement
24   5006       2016 03 03 Chul Kim Agreement
                Signature Page
25   5007       2017 12 04 Proffer Agreement Hwan
                Duk Lee
26   5009       2021 06 25 Kobre & Kim Letter                 11/13/23
27   5010       2022 08 01 Kobre & Kim Letter
     5011       2017 05 25 Chul Kim Money
28
                                                  11.
 Case 2:22-cr-00108-AB Document 194 Filed 11/16/23 Page 35 of 35 Page ID #:1986



1               Laundering Diagram
     5012       2017 05 25 Chul Kim Money
2               Laundering Diagram - Drawn
3    5013       False Loan Agreement - Original               11/13/23
     5013T      False Loan Agreement - Translated             11/13/23
4    5015       C. Kim Criminal History
5    5016       Hwan Duk Lee Sentencing Report -
                Original
6    5016T      WK MIT Financial Analysis - Original
     5017       Korean Prosecutor Financial Analysis
7
     5018       Korean Search and Seizure Report
8    5019       Korean Prosecutor Report
9    5020       Korean Travel Records
     5021       H. Lee Korean Bank Record
10   5022       Non-Prosecution Agreement -                   11/13/23   11/13/23
                Korean
11
     5022T      Non-Prosecution Agreement -                  11/13/23    11/13/23
12              Translated
     6001       2015 11 29 Email from T. Quan to
13              hdlee1249@hanmail.net
     6002       2015 11 30 Email from
14              hdlee1249@hanmail.net to
                bearbom7@gmail.com
15
     6003       2015 11 30 Email from
16              thang.quan@gmail.com to
                hdlee1249@hanmail.net
17   6004       2015 12 01 Email from
                thang.quan@gmail.com to
18              hdlee1249@hanmail.net
     6006       2020 03 11 Surreptitious Recording
19              of Defendant
20   6007       Chul Kim Undercover Meeting
                Recording part 1
21   6008       Chul Kim Undercover Meeting
                Recording part 2
22   6009       Chul Kim Undercover Meeting
                Recording part 3
23   6010       Chul Kim Undercover Meeting
24              Recording part 4
     6011       Chul Kim Undercover Meeting
25              Recording part 5
     6012       Chul Kim Undercover Meeting
26              Recording part 6
     6013       Don Vo Recording
27
28
                                                    12.
